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                                                       November 21, 2022
     Via ECF
     Honorable Hector Gonzalez
     United States District Court
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201

              Case Number:           1:21-cv-03703-BMC
                                     Khusenov v. ProKraft Inc.

     Dear Judge Gonzalez:

             This office represents defendant/third-party plaintiff, ProKraft Inc. and defendant,
     Pro-Cut in this matter. The following is submitted in support of the defendants’ application
     for leave to submit further papers in support of our motion for summary judgment and/or
     leave to hold oral argument on the respective motions. This application was not made
     earlier as I have been on trial in Supreme Court, Kings County on a complex matter since
     September 6th and the trial continues.

             Pursuant to the instruction of Judge Cogan, we moved for summary judgment on
     the strength of the case law, without an expert’s affidavit. Plaintiff submitted opposition
     papers with an expert’s affidavit. Upon application, the Court granted leave to submit a
     supplemental briefing on this matter, which included our expert’s affidavit, and Plaintiff was
     granted leave to interpose additional papers responding to our supplemental briefing. As
     such, even though we made the motion in chief, the Plaintiff had the opportunity to have
     the “last word.”

            As such, we request the opportunity to respond to the plaintiff ’s arguments in his
     supplemental brief and/or the opportunity for oral argument to address the issues in the
     supplemental papers. May the Court note that the parties have recently agreed to a private
     mediation of this matter to attempt to resolve the case. As such, the parties would not be
     prejudiced by the opportunity to further address the motions since the mediation date will
     be pending. Thank you for your attention to this matter,

                                                                 Respectfully,

                                                                 O’CONNOR REDD ORLANDO LLP

                                                                      /s/
                                                                 __________________
                                                                 Peter Urreta
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